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   7
   8                       UNITED STATES DISTRICT COURT
   9                     SOUTHERN DISTRICT OF CALIFORNIA
  10 AYNUR BAGHIRZADE, an                         Case No. 24CV1077 RSH MMP
     individual,
  11                                              DEFENDANTS LOS ANGELES
                 Plaintiff,                       COUNTY BAR ASSOCIATION,
  12                                              COCO SU AND SETH CHAVEZ’S
            v.                                    RESPONSE TO PLAINTIFF’S EX
  13                                              PARTE APPLICATION TO
     ARMENIAN NATIONAL                            CONTINUE HEARING DATE ON
  14 COMMITTEE OF AMERICA, a Non -                THEIR MOTION TO DISMISS
     Profit Corporation, et al,
  15
                 Defendants.                      Judge:     Hon. Hon. Robert S. Huie
  16                                              Courtroom: 3B
  17
  18         Defendants Los Angeles County Bar Association, Coco Su, and Seth
  19   Chavez (“LACBA Defendants”) hereby respond to Plaintiff Aynur Baghirzade’s
  20   ex parte application [Doc. No. 136] to continue the hearing date on their motion
  21   to dismiss [Doc. No. 100]. Plaintiff’s motion seeks to continue the hearing date
  22   on the LACBA Defendants’ motion to dismiss from the previously agreed upon
  23   date of January 20, 2024 to a date in March 2025. The LACBA Defendants
  24   oppose a request to move the hearing date to March 2025 (or February).
  25         The LACBA Defendants filed their motion to dismiss on December 2,
  26   2024. The motion articulated the same motion to dismiss arguments that the
  27   LACBA Defendants first met and conferred with Plaintiff about (with respect to
  28   the First Amended Complaint) in October 2024. The LACBA Defendants then
                                             1                Case No. 24CV1077 RSH MMP
          DEFENDANTS LOS ANGELES COUNTY BAR ASSOCIATION, COCO SU AND SETH CHAVEZ’S
         RESPONSE TO PLAINTIFF’S EX PARTE APPLICATION TO CONTINUE HEARING DATE ON THEIR
                                        MOTION TO DISMISS
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                                   1   met and conferred with Plaintiff again, regarding the same arguments (but now
                                   2   with respect to the Second Amended Complaint), in November 2024.
                                   3   (Declaration of Leah Lorenz, ¶ 3.) Plaintiff requested an extension of the hearing
                                   4   date after the Motion to Dismiss was filed in December, and the parties jointly
                                   5   agreed to a new hearing date of January 20, 2024. (Id., ¶ 4.) At the time, Plaintiff
                                   6   requested the extension due to the number of motions she had to oppose, which
                                   7   was the direct result of the number of Defendants named in this action. (Id., ¶ 5.)
                                   8   The LACBA Defendants were amenable to the extension, on the condition that
                                   9   the new hearing date would be January 20, 2024. (Id.)
                                  10          Now, Plaintiff – who has been seeking to continue the hearing on almost
                                  11   all of the motions to dismiss filed by the Defendants in this case – seeks another
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                                  12   extension, this time until sometime in March 2025. Plaintiff complains that
                                  13   Defendants had more time to draft their motions than she had to oppose them
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                                  14   but, as previously mentioned, Plaintiff has been aware of the motion to dismiss
                                  15   arguments for many months and, as she acknowledges, the Second Amended
                                  16   Complaint (“SAC”) did not change the allegations regarding the LACBA
                                  17   Defendants. Thus, the motion to dismiss arguments have not changed since they
                                  18   were first articulated to Plaintiff, in detail, in October.
                                  19          Plaintiff has not articulated good cause to further continue the LACBA
                                  20   Defendants’ Motion to Dismiss to a date in March (or February). While Plaintiff
                                  21   is a pro se litigant, she is also an attorney and she made the decision to file a
                                  22   complaint that names numerous defendants and she agreed to move various
                                  23   hearing dates to January 2025.
                                  24          With respect to Plaintiff’s Ex Parte Application, it was filed during the
                                  25   holiday season and while counsel for the LACBA Defendants was out of town.
                                  26   The LACBA Defendants have offered to move the hearing date one week, to
                                  27   January 27, 2024 and also stated that they would be amenable to Plaintiff filing
                                  28   one joint opposition with respect to the motions filed by the LACBA Defendants
                                                                                 2                   Case No. 24CV1077 RSH MMP
                                          DEFENDANTS LOS ANGELES COUNTY BAR ASSOCIATION, COCO SU AND SETH CHAVEZ’S
                                         RESPONSE TO PLAINTIFF’S EX PARTE APPLICATION TO CONTINUE HEARING DATE ON THEIR
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                                   1   and the Orange County Bar Association, since the motions include similar
                                   2   arguments. Plaintiff was not amenable to that offer.
                                   3         In sum, ex parte applications should be denied where the party seeking
                                   4   relief is responsible for “creating the crisis that required ex parte relief.” Mission
                                   5   Power Engineering Co., v. Continental Cas. Co., 883 F. Supp. 488, 493 (C.D.
                                   6   Cal. 1995). Plaintiff agreed to the January 20, 2024 hearing date; agreed to other
                                   7   hearing continuances with January hearing dates [see e.g., Doc. Nos. 118, 122];
                                   8   chose to file a complaint against numerous defendants; and created more work
                                   9   for herself by filing overly-lengthy oppositions to motions to dismiss filed by
                                  10   other Defendants.
                                  11         If the Court is willing to grant Plaintiff’s application, the LACBA
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                                  12   Defendants are, as mentioned above, amenable to the hearing date being
                                  13   continued to January 27, 2024, and are also amenable to Plaintiff filing one joint
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                                  14   opposition with respect to the motions filed by the LACBA Defendants and the
                                  15   Orange County Bar Association. If an extension is granted, the LACBA
                                  16   Defendants also respectfully request that the Court order that this is the final
                                  17   extension of time for Plaintiff to file her opposition to the LACBA Defendants’
                                  18   motion.
                                  19
                                  20                                        ROSING POTT & STROHBEHN
                                  21
                                  22 DATED: January 2, 2025                 By:         /s/ Leah A. Plaskin Lorenz
                                                                                  Heather L. Rosing
                                  23
                                                                                  Leah A. Plaskin Lorenz
                                  24                                              Attorneys for Defendants LOS ANGELES
                                  25                                              COUNTY BAR ASSOCIATION, COCO
                                                                                  SU, and SETH CHAVEZ
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                                                                                  3                Case No. 24CV1077 RSH MMP
                                          DEFENDANTS LOS ANGELES COUNTY BAR ASSOCIATION, COCO SU AND SETH CHAVEZ’S
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                                                                        MOTION TO DISMISS
